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6

7
                      UNITED STATES DISTRICT COURT
8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
                                         )   Case No.:
10                                       )
     KATHERINE DOUNCE,                   )   COMPLAINT FOR DAMAGES
11
                                         )   1. VIOLATION OF THE FAIR
12               Plaintiff.              )   DEBT COLLECTION PRACTICES
                                         )   ACT, 15 U.S.C. §1692 ET. SEQ.;
13         v.                            )   2. VIOLATION OF THE
14
                                         )   ROSENTHAL FAIR DEBT
     ALLIED COLLECTION                   )   COLLECTION PRACTICES ACT,
15   SERVICES, INC.                      )   CAL. CIV. CODE §1788 ET. SEQ.;
                                         )
16
                   Defendant.            )   JURY TRIAL DEMANDED
17                                       )
                                         )
18                                       )
19                                       )

20

21
                                   COMPLAINT

22         KATHERINE DOUNCE (“Plaintiff”), by and through her attorneys,
23
     KIMMEL & SILVERMAN, P.C., alleges the following against ALLIED
24
     COLLECTION SERVICES, INC. (“Defendant”):
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                                PLAINTIFF’S COMPLAINT
28
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1                                     INTRODUCTION
2
           1.     Plaintiff’s Complaint is based on the Fair Debt Collection Practices
3
     Act, 15 U.S.C. §1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection
4

5    Practices Act, Cal. Civ. Code §1788, et. seq. (“RFDCPA”).

6

7
                               JURISDICTION AND VENUE
8
           2.     Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
9

10   which states that such actions may be brought and heard before “any appropriate
11   United States district court without regard to the amount in controversy,” and 28
12
     U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
13

14
     under the laws of the United States.

15         3.     Supplemental jurisdiction over all state law claims is proper pursuant
16
     to 28 U.S.C. § 1367 et seq.
17
           4.     Defendant conducts business in the State of California and as such,
18

19
     personal jurisdiction is established.

20         5.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
21

22
                                             PARTIES
23

24         6.     Plaintiff is a natural person residing in North Hollywood, CA 91601.

25         7.     Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
26

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                                    PLAINTIFF’S COMPLAINT
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1    §1692a(3) and is a “debtor” as defined by Cal. Civ. Code §1788.2(h).
2
           8.     Defendant is a national debt collection company with its corporate
3
     headquarters located at 3080 South Durango Drive, Suite 208, Las Vegas, Nevada
4

5    89117.

6          9.     Defendant is a “debt collector” as that term is defined by 15 U.S.C. §
7
     1692a(6), and RFDCPA, Cal. Civ. Code §1788.2(c), and contacted Plaintiff in an
8
     attempt to collect a debt.
9

10         10.    Debt collection is the principal purpose of Defendant’s business.
11         11.    Defendant acted through its agents, employees, officers, members,
12
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
13

14
     representatives, and insurers.

15

16
                                  FACTUAL ALLEGATIONS
17
           12.    Beginning in or before March 2017 and continuing thereafter through
18

19
     August 2017, Defendant called Plaintiff repeatedly and continuously to contact a

20   third parties the Defendant named as “Daria Tarlow” and “Harry Walters”.
21
           13.    Defendant’s calls originated from phone numbers including, but not
22
     limited to the following number: (702) 939-8300. The undersigned has confirmed
23

24   that this phone number belongs to the Defendant.

25         14.    Plaintiff is not named “Daria Tarlow” or “Harry Walters”, nor can
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27                                             -3-
                                      PLAINTIFF’S COMPLAINT
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1    any person by either of those names be reached at her cellular telephone number.
2
            15.     Plaintiff was aware that it was Defendant calling because she spoke
3
     to collectors who announced or stated their company name as Defendant’s during
4

5    their calls.

6           16.     Upon initial communication with Defendant and on multiple
7
     occasions thereafter, Plaintiff informed Defendant that they were calling the
8
     wrong phone number and requested that Defendant stop calling her.
9

10          17.     Once Defendant was aware that its calls were unwanted and to stop,
11   there was no lawful purpose to making additional calls, nor was there any good
12
     faith reason to place calls.
13

14
            18.     Undeterred by Plaintiff’s demands to stop calling, Defendant failed to

15   restrict their calls to Plaintiff’s cellular telephone and instead continued to call
16
     Plaintiff.
17
            19.     These further calls have been invasive, irritating, disruptive and
18

19
     stressful for Plaintiff to endure and have caused her frustration and upset.

20

21
                               COUNT I
22            DEFENDANT VIOLATED § 1692d and d(5) OF THE FDCPA
23
             20. A debt collector violates § 1692d by engaging in any conduct the
24
     natural consequence of which is to harass, oppress, or abuse any person in
25

26
     connection with the collection of a debt.

27                                            -4-
                                     PLAINTIFF’S COMPLAINT
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1           21. A debt collector violates § 1692d(5) by causing a telephone to ring or
2
     engaging any person in telephone conversation repeatedly or continuously with
3
     intent to annoy, abuse, or harass any person at the called number.
4

5          22.    Defendant violated both sections of the FDCPA when it called

6    Plaintiff repeatedly seeking a third party and continued its steady barrage of calls
7
     in spite of Plaintiff’s repeated indications that they were calling a wrong number
8
     and to stop calling her cell phone number.
9

10

11
                                COUNT II
12                DEFENDANT VIOLATED § 1692f OF THE FDCPA

13         23.    A debt collector violates § 1692f by using unfair or unconscionable
14
     means to collect or attempt to collect any debt.
15
           24.    Defendant’s collection practices are unfair or unconscionable as it
16

17   called Plaintiff an excessive number of times beginning in or around March 2017
18   and continuing through August 2017, continued to call Plaintiff despite her
19
     innumerable demands to stop calling and indications that their calls were being
20
     placed to the wrong number.
21

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                                    PLAINTIFF’S COMPLAINT
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1                                COUNT III
                       DEFENDANT VIOLATED THE RFDCPA
2

3          25.   A debt collector violates section 1788.17 of the California Civil Code
4
     by failing to comply with sections 1692b through 1692j of the FDCPA.
5
           26.   Defendant violated section 1788.17 of the California Civil Code
6

7
     when it violated the FDCPA for the reasons set forth in this Complaint.

8

9
           WHEREFORE, Plaintiff, KATHERINE DOUNCE, respectfully prays for a
10
     judgment as follows:
11

12            a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1);

13            b. Statutory damages of $1,000.00 for the violation of the FDCPA
14
                 pursuant to 15 U.S.C. § 1692k(a)(2)(A);
15
              c. All reasonable attorneys’ fees, witness fees, court costs and other
16

17               litigation costs incurred by Plaintiff pursuant to 15 U.S.C. §
18               1693k(a)(3);
19
              d. All actual damages, statutory damages, reasonable attorney’s fees and
20
                 costs, and any other litigation costs incurred by Plaintiff pursuant to
21

22               the RFDCPA at Cal. Civ. Code § 1788.17;
23
              e. Any other relief deemed appropriate by this Honorable Court.
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                                   PLAINTIFF’S COMPLAINT
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1                                 DEMAND FOR JURY TRIAL
2
            PLEASE TAKE NOTICE that Plaintiff, KATHERINE DOUNCE, demands
3
     a jury trial in this case.
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5

6                                           RESPECTFULLY SUBMITTED,
7
                                            KIMMEL & SILVERMAN, P.C..
8
       DATED: March 14, 2018                By: /s/Amy Lynn Bennecoff Ginsburg
9
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                                     PLAINTIFF’S COMPLAINT
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